Case 8:21-cv-01377-DSF Document 7 Filed 10/20/21 Page 1 of 1 Page ID #:151
                                                                          JS-6



              UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF CALIFORNIA


  RICHARD CLARK FARRELL,              Case No. SA CV 21-01377-DSF

        Debtor,
                                      JUDGMENT

  BETTY JANE FARRELL,

        Appellant,

                  v.

  Karen Sue Naylor, Trustee,
      Appellee.



    The Court having previously issued an Order to Show Cause re
 Dismissal for Lack of Prosecution and Appellant not having
 responded or shown a reason why the action should not be
 dismissed in its entirety for the failure of appellant to file the
 following: (i) a designation of the record; (ii) a statement of issues
 on appeal; and (iii) a notice regarding the ordering of transcripts.
    IT IS ORDERED AND ADJUDGED that this action be
 dismissed.


  Date: October 20, 2021              ___________________________
                                      Dale S. Fischer
                                      United States District Judge
